                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         DOCKET NO.: 3:12-CR-13-MOC-DCK

UNITED STATES OF AMERICA,                 )
          Plaintiff,                      )
vs.                                       )
                                          )                                  ORDER
ABDUL WHITE,                              )
            Defendant.                    )
                                          )
__________________________________________)

       THIS MATTER IS BEFORE THE COURT on the “Notice Of Appeal To District Court

The Detention Order Entered March 27, 2012" (Document No. 66) filed by the Defendant, Abdul

White, on April 8, 2012; the “Order” of Judge Max O. Cogburn, Jr. (Document No. 67) filed April

9, 2012 deeming the Defendant’s filing to be a motion for reconsideration and referring that matter

to the undersigned; and the “United States of America’s Memorandum In Opposition. . .”

(Document No. 76) filed April 26, 2012. While the procedural posture of this matter is somewhat

unusual, the issue presented is not – the Defendant is seeking release on bond. After carefully

considering this matter in its totality, including arguments made at a hearing on April 23, 2012, the

Court will respectfully deny the motion.

       The Defendant, Abdul White, is currently charged along with five others in a superseding

bill of indictment filed April 18, 2012 (Document No. 71) with Hobbs Act robbery conspiracy,

Hobbs Act robbery, and money laundering conspiracy. These charges arise from an alleged violent

home invasion robbery in which guns were brandished, adult victims were restrained, and as much

as $1.5 million was stolen, all in the presence of children who were present in the home. It is

important to note that this Defendant was not present at the robbery, but allegedly played a role in




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connecting the participants and was paid as much as $100,000 from the spoils for his coordinating

efforts.

           The Defendant was initially ordered detained in this case by U.S. Magistrate Judge David

Cayer following a detention hearing on March 27, 2012. At that hearing, the docket reflects the

Defendant proceeded pro se, with attorney Lucky Osho serving as stand-by counsel. The Defendant

retained attorney Aaron Michel on April 4, 2012, and it was Mr. Michel who filed the motion now

deemed as a motion to reconsider (Document No. 66) on April 8, 2012. At the hearing before this

Court regarding the instant motion on April 23, 2012, there was some discussion about the

applicable standard under the Bail Reform Act, i.e., whether the Defendant was required to show

a material change of circumstances to be granted relief, but for the reasons which follow, this is not

dispositive.

           Whatever the applicable standard, the Court concludes that bond is not appropriate in this

case. True, Mr. Michel has made some nice arguments on behalf of the Defendant. For example,

the Defendant has very little prior criminal record, he is employed at a car detailing shop, and he had

family and community support present in the audience at the hearing. In addition, as noted, while

the Defendant faces very serious charges, he was not himself an actual physical participant in the

robbery, and the government’s case as forecast currently appears to rely significantly on co-

conspirator testimony.

           However, there is plenty to be concerned about here. Whether the Defendant was present

or not, this was allegedly a violent home invasion-style robbery in which firearms were brandished,

adult victims were restrained and in one case assaulted, and $1.5 million was stolen – all in the

presence of children who were present in the home. The government alleges that the Defendant’s

role in planning the robbery was important, and he received as much as $100,000 of the spoils, albeit

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money that has not been recovered. The presumption of detention arises from these serious charges

as to all the defendants, regardless of their role, and currently all six defendants are detained.

       The government also asserts that the Defendant essentially attempted by his actions to evade

or delay arrest, and together with his girlfriend, engaged in what amounted to a stand-off with

authorities at the time and site of his arrest. Albeit before Mr. Michel entered his case, the

Defendant defiantly suggested at a prior court proceeding that the Court had no authority over him,

and he had an apparently unlicensed lawyer making filings on his behalf. Less important, but worth

noting, the Defendant failed to appear for court on one occasion in a 2009 traffic case in North

Carolina District Court.

       In the end, even if this matter were on for a de novo determination of bond, the Court would

order Mr. White detained. In the judgment of the undersigned, the Defendant simply has not

overcome the presumption of detention in this case.

       TT IS THEREFORE ORDERED that the motion deemed by the Court to be a motion to

reconsider bond (Document No. 66) is hereby DENIED. The Defendant shall remain detained

pending further proceedings in his case.


                                                  Signed: May 10, 2012




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